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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO


MICHAEL J. YOUNG,                                )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )           Case No. 2:18-CV-52-MHW-CMV
                                                 )
EXPERIAN INFORMATION                             )
SOLUTIONS, INC., et al.,                         )
                                                 )
               Defendants.                       )
                                                 )

                            ANSWER AND AFFIRMATIVE DEFENSES

       NOW COMES defendant Experian Information Solutions, Inc. (“Experian”), by its

undersigned counsel, and in answer to the Complaint, states as follows:

       1.      In response to paragraph 1 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein.

       2.      In response to paragraph 2 of the Complaint, Experian states that it is an Ohio

corporation, with its principal place of business in Costa Mesa, California. Experian admits that

it is qualified to do business and does conduct business in the State of Ohio. In response to the

remaining allegations of paragraph 2, Experian is without knowledge or information sufficient to

form a belief as to the truth of those allegations and, on that basis, denies, generally and

specifically, each and every such allegation.

       3.      In response to paragraph 3 of the Complaint, Experian states that this paragraph

states legal conclusions that are not subject to denial or admission.

       4.      In response to paragraph 4 of the Complaint, Experian states that this paragraph

states legal conclusions that are not subject to denial or admission.
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       5.      In response to paragraph 5 of the Complaint, Experian denies, generally and

specifically, each and every allegation therein against Experian. As to the remaining allegations

in paragraph 5, Experian is without knowledge or information sufficient to form a belief as to the

truth of those allegations and, on that basis, denies, generally and specifically, each and every

such allegation.

       6.      In response to paragraph 6 of the Complaint, Experian denies, generally and

specifically, each and every allegation therein against Experian. As to the remaining allegations

of in paragraph 6, Experian is without knowledge or information sufficient to form a belief as to

the truth of those allegations and, on that basis, denies, generally and specifically, each and every

such allegation.

       7.      In response to paragraph 7 of the Complaint, Experian states that this paragraph is

not subject to denial or admission.

       8.      In response to paragraph 8 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       9.      In response to paragraph 9 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       10.     In response to paragraph 10 of the Complaint, Experian states that this paragraph

is not subject to denial or admission.

       11.     In response to paragraph 11 of the Complaint, Experian denies, generally and

specifically, each and every allegation therein against Experian. Experian admits that it received

a letter dated October 12, 2017, and purporting to come from Plaintiff, requesting that Experian




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“remove” from Plaintiff’s “Personal Credit Report” (1) “[a]ll Federal Tax Liens . . . reported as

released,” as well as (2) “[a]ny reference to bankruptcy filings by ‘Michael J. Young, Trustee.’”

Experian promptly addressed both requests. No tax liens reporting to Experian as “released”

were allowed to remain on Plaintiff’s credit disclosure, and there were (and are) no bankruptcy

“reference[s] to . . . ‘Michael J. Young, Trustee’” on Plaintiff’s credit disclosure.

       12.     In response to paragraph 12 of the Complaint, Experian admits that it has issued

credit reports with respect to Plaintiff. Experian denies, generally and specifically, each and

every remaining allegation in paragraph 12.

       13.     In response to paragraph 13 of the Complaint, Experian states that this paragraph

is not subject to denial or admission.

       14.     In response to paragraph 14 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       15.     In response to paragraph 15 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       16.     All allegations not expressly admitted above are denied.



                                   AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

       The Complaint herein, and each cause of action thereof, fails to set forth facts sufficient

to state a claim upon which relief may be granted against Experian and further fails to state facts

sufficient to entitle Plaintiffs to the relief sought, or to any other relief whatsoever from

Experian.


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                             SECOND AFFIRMATIVE DEFENSE

       All claims against Experian are barred because all information Experian communicated

to any third person regarding Plaintiff was true.

                              THIRD AFFIRMATIVE DEFENSE

       Experian is informed and believes and thereon alleges that any purported damages

allegedly suffered by Plaintiff are the results of the acts or omissions of third persons over whom

Experian had neither control nor responsibility.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiff has failed to mitigate his damages.

                              FIFTH AFFIRMATIVE DEFENSE

       The Complaint and each claim for relief therein is barred by laches.

                              SIXTH AFFIRMATIVE DEFENSE

       Experian is informed and believes and thereon alleges that any alleged damages sustained

by Plaintiff were, at least in part, caused by the actions of Plaintiff himself and resulted from

Plaintiff’s own negligence which equaled or exceeded any alleged negligence or wrongdoing by

Experian.

                            SEVENTH AFFIRMATIVE DEFENSE

       Any damages which Plaintiffs may have suffered, which Experian continues to deny,

were the direct and proximate result of the conduct of Plaintiff. Therefore, Plaintiff is estopped

and barred from recovery of any damages.

                                 EIGHTH AFFIRMATIVE DEFENSE

       Experian is informed and believes and thereon alleges that some claims for relief in the

Complaint herein are barred by the applicable statutes of limitations, including but not limited to

15 U.S.C. § 1681p.


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                             NINTH AFFIRMATIVE DEFENSE

       The Complaint, and each claim for relief therein that seeks equitable relief, is barred by

the doctrine of unclean hands.

                             TENTH AFFIRMATIVE DEFENSE

       Plaintiff’s alleged damages were not caused by Experian, but by an independent

intervening cause.

                          ELEVENTH AFFIRMATIVE DEFENSE

       Claims against Experian are barred by the qualified immunity of 15 U.S.C. § 1681h(e).

                           TWELFTH AFFIRMATIVE DEFENSE

       Experian reserves the right to assert additional affirmative defenses at such time and to

such extent as warranted by discovery and the factual developments in this case.

       WHEREFORE, Defendant Experian Information Solutions, Inc. prays as follows:

       (1)    That Plaintiffs take nothing by virtue of the Complaint herein and that this action

              be dismissed in its entirety;

       (2)    For costs of suit and attorneys’ fees herein incurred; and

       (3)    For such other and further relief as the Court may deem just and proper.

Dated: May 25, 2018                              Respectfully submitted,

                                                 /s/ Emmett E. Robinson_____________
                                                 Emmett E. Robinson
                                                 JONES DAY
                                                 901 Lakeside Avenue
                                                 Cleveland, OH 44114
                                                 Telephone: (216) 586-3939
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                                                 Email:     erobinson@jonesday.com

                                                 Attorney for Defendant Experian Information
                                                 Solutions, Inc.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2018, the foregoing Answer was filed via the Court’s

electronic filing system. Counsel of record will be served electronically with notice of this filing

as indicated on the electronic filing receipt and will have access to the Answer via the Court’s

electronic system. I also certify that a copy of this Answer will be emailed by me directly to pro

se plaintiff Michael J. Young this day, May 25, 2018, at myoung@youprop.com, and will be sent

via U.S. Mail to the same at:

       Michael J. Young
       610 Old Farm Road
       Columbus, OH 43213.



                                              /s/ Emmett E. Robinson
                                              Attorney for Defendant
                                              Experian Information Solutions, Inc.




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